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                          THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

CHILLY DIL CONSULTING INC., a                 §
Florida corporation,                          §
                                              §
             Plaintiff,                       §
                                              §
v.                                            §   CIVIL ACTION NO. 3:14-cv-02749-N
                                              §
JETPAY ISO SERVICES, LLC, a Texas             §
limited liability company; JETPAY, LLC, a     §
Texas limited liability company; JETPAY       §
CORPORATION, a Delaware corporation;          §
and TRENT R VOIGT, an individual,             §
                                              §
             Defendants.                      §

             NOTICE OF STATUS OF SETTLEMENT AND DISMISSAL




NOTICE OF STATUS OF SETTLEMENT AND DISMISSAL
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       Plaintiff Chilly Dil Consulting, Inc. (“Chilly Dil”) files this Notice of Status of

Settlement and Dismissal, and respectfully notifies the Court as follows:

       1.      On September 13, 2016, Chilly Dil; Defendants JetPay ISO Services, LLC,

JetPay, LLC, JetPay Corporation, and Trent Voigt (collectively, “Defendants”); and non-party

Backpage.com, LLC executed a final settlement agreement that resolves the claims asserted in

the above-referenced action.

       2.      Pursuant to the parties’ mutual agreement, Chilly Dil and Defendants will file a

Joint Motion for Order of Dismissal and a Final Order of Dismissal within 75 days of the

execution of the settlement agreement.



                                                    Respectfully submitted,

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                                CERTIFICATE OF SERVICE


        This is to certify that on September 27, 2016, the foregoing was served upon counsel of
record in accordance with the Federal Rules of Civil Procedure as set forth below by U.S. Mail
or electronic filing.

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COUNSEL FOR DEFENDANTS



                                                    BY:      /s/Eugene Rome
                                                           Eugene Rome




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